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                                  UNITED	STATES	DISTRICT	COURT	
                              FOR	THE	NORTHERN	DISTRICT	OF	ILLINOIS	
                                        EASTERN	DIVISION	
	
CLEAR	SKIES	NEVADA,	LLC																    	      	       )	
	     	       	            	          	    	      	       )	
	     Plaintiff,																					 	    	      	       )	         Case	No.	15	cv	6708	
	     	       	            	          	    	      	       )	
	     	       v.	          	          	    	      	       )	         Judge	Virginia	M.	Kendall	
	     	       	            	          	    	      	       )									
RENEE	HANCOCK,	            	          	    	      	       )	         Magistrate	Judge	Susan	Cox	 	   		
	     	       	            	          	    	      	       )	
	     Defendant.	 	                   		   	      	       )	
	
                                        	
                     MOTION	FOR	ENTRY	OF	FINAL	JUDGMENT	
______________________________________________________________________________	
	
	     NOW	COMES	Defendant,	Renee	Hancock,	through	her	attorneys,	and	respectfully	

requests	that	the	Honorable	Court,	pursuant	to	Fed.	R.	Civ.	P.	58,	enter	Final	Judgment	in	this	

matter,	and	states	as	follows	in	support	of	same.		

        1.      On	April	27,	2017	(Dkt.	No.	87)	the	Court	dismissed	Plaintiff’s	claims	against	

                Defendant.		

        2.      On	August	23,	2017	the	Court	ordered	that	that	previous	dismissal	be	“with	

                prejudice”	and	that	Defendant	be	awarded	attorneys’	fees.	

        3.      On	January	30,	2018,	the	Court	awarded	Defendant	Renee	Hancock	$65,268.31	

                in	attorneys’	fees	and	costs.		

        4.      Defendant’s	counsel	attempted	to	obtain	a	clerk’s	entry	pursuant	to	§	FRCP	

                58(b)(1)(B)	but	to	date	no	clerk’s	entry	has	been	made.	




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       5.      Defendant	therefore	respectfully	requests	entry	of	the	Final	Judgment	attached	

               hereto	as	Exhibit	1.	A	word	version	of	Exhibit	1	has	been	forwarded	to	Judge	

               Kendall’s	proposed	order	email	for	her	consideration.			

       Respectfully	submitted:		

	
	          /s/		Lisa	L.	Clay		  	     	
Lisa	L.	Clay	                                        	
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								/s/					Curt	Edmondson	 	
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Pro	Hac	admittee	
	
                                                 	
                                    CERTIFICATE	OF	SERVICE	
I	hereby	certify	that	on	the	20th	day	of	February,	2018,	I	caused	to	be	electronically	filed	the	
foregoing	MOTION	FOR	ENTRY	OF	FINAL	JUDGMENT	with	the	Clerk	of	the	Court	using	the	
CM/ECF	system	which	will	send	notification	of	such	filing	to	all	parties	of	record.	
	
	
	      	        	      							/s/				Lisa	L.	Clay	 	
	
       	




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